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                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF ALABAMA
                                   NORTHERN DIVISION


UNITED STATES OF AMERICA

v.                                                              Case No: 2:15-cr-340-CEM-SRW

ALTA LEE JUNIOR WILLIAMS
                                              /

                                              ORDER

       THIS CAUSE is before the Court on Defendant Alta Lee Junior Williams’ Motion to

Suppress (“Motion,” Doc. 39). On January 19, 2016, this Court denied Defendant’s Motion in part

for failure to present sufficient evidence to merit a hearing as to one of his requested grounds for

relief. (Jan. 19, 2016 Order, Doc. 69, 1–2). However, the remaining arguments raised in the Motion

were sufficient to warrant a hearing. Accordingly, a hearing was held before United States

Magistrate Judge Susan Russ Walker on January 11, 2016. (See Min. Entry, Doc. 58, at 1).

Thereafter, Judge Walker submitted a Report and Recommendation (Doc. 71), which recommends

that the remainder of the Motion be denied. (R. & R. at 13). Judge Walker further ordered that,

due to exigent circumstances created by Defendant’s untimely filing of the Motion, any objection

to the Report and Recommendation had to be filed on or before January 22, 2016, at 8 a.m. (Id. at

13 & n.12).

       After an independent de novo review of the record, and noting that no objections were

timely filed, this Court agrees entirely with the findings of fact and conclusions of law in the Report

and Recommendation.




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       Therefore, it is ORDERED and ADJUDGED as follows:

           1. The Report and Recommendation (Doc. 71) is ADOPTED and CONFIRMED and

              made a part of this Order.

           2. Defendant’s Motion to Suppress (Doc. 39) is DENIED.

       DONE and ORDERED on January 22, 2016.




Copies furnished to:

Counsel of Record




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